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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIA
                               ORLANDO DIVISION


 JENNIFER SMITH,

                 Plaintiff,

 v.                                       CASE NO: 6:24-cv-00457-PGB-RMN

 THE FLORIDA AGRICULTURAL &
 MECHANICAL UNIVERSITY
 BOARD OF TRUSTEES,

            Defendant.
 _________________________________/

  DEFENDANT’S RESPONSE TO PLAINTIFF’S AMENDED MOTION FOR
   AN EXTENSION OF TIME, AND FOR LEAVE TO FILE AN AMENDED
                 COMPLAINT AND ADD PARTIES

       Defendant, The Florida Agricultural & Mechanical University Board of

 Trustees (“University”), hereby responds to Plaintiff’s Amended Motion for an

 Extension of Time, and for Leave to File an Amended Complaint and Add

 Parties,(“Motion to Amend”) [Doc. 72], and respectfully requests this Honorable

 Court to render an Order denying Plaintiff’s futile Motion to Amend. [Doc. 72].

      I.      Facts

           The facts below are from the Plaintiff’s Second Amended Complaint and

 exhibits thereto. [Docs. 72-1 through 72-16].

           Plaintiff was employed by the University commencing in 2004. [Doc. 1-1, ¶8;

 Doc. 72-1, ¶16]. This is the plaintiff’s third lawsuit against the University falsely

 alleging violation of the Equal Pay Act. [Doc. 17]. Previous cases have established
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 that as of 2019, Plaintiff suffered no pay disparity based on discrimination. Smith v.

 Florida Agricultural & Mechanical University, Board of Trustees, 2019 WL 12317725 (N.D.

 Fla. June 2, 2019); Smith v. Fla. A & M University Board of Trustees, 831 Fed. Appx. 434

 (11th Cir. 2020); [Doc. 17-6, p. 1; Doc. 17-7, p. 1].

       In 2021 the University hired Professor Ewanrinareto “Areto” Imoukhuede.

 [Doc. 1-1, p. 4; Doc. 72-1, p. 8, ¶28]. Plaintiff complained about her salary compared

 to his to the President of the University by letter dated May 9, 2022, and to the Equal

 Opportunity Programs Office of the University (“EOP”) on June 28, 2022, which

 resulted in a finding that no discrimination had occurred. Plaintiff then filed a charge

 with the Equal Employment Opportunity Commission (“EEOC”) on October 18,

 2022. [Doc. 1-1, p. 5, ¶29; Doc. 72-1, ¶¶38-40].

       On October 20, 2022, the plaintiff texted Associate Dean Reginald Green that

 “one of reyes’ [sic] students (Hispanic blonde) was so rude . . . aggressive rude.” [Doc.

 72-7, p. 11; Doc. 72-1 ¶41]. Green affirmed in his interview with the Office of

 Compliance and Ethics (“OCE”) that he “immediately went to room 254 to

 investigate.” By the time he arrived at the classroom, the plaintiff had left. The student

 had not been named in the plaintiff’s text. Green asked the plaintiff for more details.

 By the time the student was identified, the student had filed a grievance against the

 plaintiff about the incident. [Doc. 1-3, p. 28; Doc. 72-7, p. 11].

       “On October 27, 2022, the Office of Compliance and Ethics (OCE) received a

 referral via email from the Office of Equal Opportunity Programs (EOP) Director,

 Latrecha Scott. College of Law student, [M.W.], reported her concern regarding a

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 negative interaction she had with Professor Smith and believed that Professor Smith

 violated the University Code of Conduct by her behavior.” [Doc. 1-3, p. 23; Doc. 72-

 7, p. 6]. The OCE investigated and drafted a report. [Doc. 72-7, pp. 14 – 16].

       On February 1, 2023, Plaintiff was interviewed and denied the allegations.

 [Doc. 1-3, p. 25; Doc. 72-7, pp. 7 - 11].

       On March 9, 2023, “Professor Smith filed a complaint through the University’s

 Compliance and Ethics Hotline, reporting that a student knowingly and intentionally

 disrupted her class on October 20, 2022.” [Doc. 1-3, p. 35; Doc. 72-7, p. 18].

       “On March 10, 2023, OCE sent an email to Professor Smith reiterating that the

 issue would be addressed in the ongoing case FAMU 2022-11-117.” [Doc. 72-7, p. 18].

       Thereafter, “OCE became concerned with how Professor Smith responded after

 she was made aware that [the student] filed a complaint against her.” [Doc. 72-7, p.

 16]. “It is unreasonable that Professor Smith considered her text message to Associate

 Dean Green as a formal complaint of a student conduct violation. Professor Smith

 did not respond to Associate Dean Green’s request for further information. Further,

 Professor Smith indicated in the same statement that she felt the issue was resolved

 after her December 18, 2022 email.” [Doc. 72-7, p. 16]. Plaintiff “continued to send

 OCE supplemental memoranda restating her position and other concerns regarding

 the investigation and colleagues.” [Doc. 72-7, p. 18]. In fact, Plaintiff submitted five

 supplemental memoranda. Id. The OCE report found Plaintiff had retaliated against

 the student by filing the March 9, 2023 hotline charge:

       Professor Smith goes on to clarify why it was important that [the student]

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       know that she was a subject in a complaint:

           "...It is necessary for the student to properly file her Bar
           application; otherwise, she will be accused of not being truthful
           about her law school experiences. I knew an investigation was
           being reviewed, but Ms. Baker informed me that I (not MW) was
           the subject of the investigation."

       Professor Smith's subsequent complaint on March 9, 2023, although she
       knew that an investigation was being reviewed, memorandum responses,
       and the timeline of events are concerning. Professor Smith did not follow
       up on her text message to Associate Dean Green about [the student]
       being "aggressive rude" or his request for additional information in
       October 2022, which contradicts her subsequent assertions that she filed
       a complaint and was under the impression that it was being handled.
       Professor Smith also stated that she felt the issue was resolved in
       December 2022. Professor Smith filed an additional complaint against
       [the student] with the Office of Compliance and Ethics after discovering
       that [the student] filed a complaint against her.

       Based on Professor Smith's statements, she filed this complaint for the
       purpose of ensuring that [the student] would report that she was the
       subject of an investigation on her bar application. Professor Smith's
       clarifying statement that she filed the complaint would prevent (sic) [the
       student] from being "accused of not being truthful about her law school
       experiences." [Emphasis added].
       ...

       The additional finding of retaliation due to Professor Smith's subsequent
       action in filing an additional complaint against [the student] for the
       purpose of having [the student] report the complaint on her bar
       application, is SUBSTANTIATED.[Emphasis in original]. [Doc. 72-7,
       pp. 18-19].

       “On June 5, 2023, the Office of Compliance and Ethics (OCE) rendered

 FAMU-2022-11-117 Investigative Report, addressing allegations of employee

 misconduct regarding Professor Jennifer Smith.” [Doc. 1-3, p. 22; Doc. 72-7, p. 21].

 The report was also provided to the plaintiff. [Doc. 1-4, p. 27; Doc. 72-7, p. 5].




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       On July 6, 2023, the OCE issued a supplemental report to FAMU 2022-11-117

 that evaluated the “appropriateness and professionalism displayed by Professor

 Smith,” and that “the perceived rivalry between Professors Reyes and Smith,

 internalized by students, is a distraction and out of step with the values reiterated in

 University commitments and regulations.” [Doc. 1-3, p. 38, 40; Doc. 72-7, p. 20, 23].

 The OCE indicated that the “Dean of the College of Law should review this

 supplemental report and take any action deemed appropriate . . .” [Doc. 1-3, p. 41;

 Doc. 72-7, p. 24].

       Plaintiff’s last employment contract term was from August 7, 2023, to May 10,

 2024. [Doc. 1-4, p. 9; Doc. 72-8, p. 1]. The relevant contract provides, in part, “the

 Employee is subject to the . . . regulations, policies and procedures of the . . . Florida

 Board of Governors and FAMU, as now existing or hereafter promulgated,” and it “is

 intended as a complete and final expression of the terms of the Employment Contract

 between FAMU and the Employee . . .” Id.

       On December 5, 2023, Allyson Watson, Provost and Vice President for

 Academic Affairs sent Plaintiff a “Notice of Intent to Dismiss from Employment.”

 [Doc. 1-3, p. 18; Doc. 72-7, p. 1].

       On January 11, 2024, Plaintiff met with a conference panel pursuant to

 University Regulation 10.120 as provided in the letter dated December 5, 2023. [Doc.

 1-1, p. 15, ¶81; Doc. 1-3, p. 18; Doc. 72-1, ¶109].

       On January 12, 2024, the conference panel recommended that the “Notice of

 Intent to Dismiss from Employment” dated December 5, 2023, be rescinded. [Doc. 1-

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 1, p. 21, ¶82; Doc. 72-7, p. 27, ¶111].

         On January 23, 2024, Allyson Watson, Provost, issued Plaintiff a “Notice of

 Dismissal of Employment” making the plaintiff’s termination from employment

 effective January 30, 2024. [Doc. 1-4, p. 1][Doc. 1-1, p. 17, ¶¶ 90-91][Doc. 72-8].

 II.     Memorandum of Law

       A. Standard of Review

         The Eleventh Circuit reviews “a district court's denial of a motion to amend for

 abuse of discretion” and “de novo [for] a decision that a particular amendment to the

 complaint would be futile.” Cockrell v. Sparks, 510 F.3d 1307, 1310 (11th Cir. 2007)

 (citing Harris v. Ivax Corp., 182 F.3d 799, 802 (11th Cir. 1999)).

         “A motion under Rule 12(b)(6), Federal Rules of Civil Procedure, challenges

 the legal sufficiency of the complaint. On a Rule 12(b)(6) motion, the complaint's

 factual allegations are accepted as true and construed most favorably to the plaintiff.

 [citations omitted].” Burge v. Ferguson, 619 F. Supp. 2d 1225, 1232 (M.D. Fla. 2008).

         The Motion to Dismiss standard applies to a review of the Second Amended

 Complaint because the University will show that amendment is futile.

         A complaint must contain “a short and plain statement of the claim
         showing that the pleader is entitled to relief.” FED. R. CIV. P. 8(a)(1).
         Thus, to survive a motion to dismiss made pursuant to Rule 12(b)(6), the
         complaint “must contain sufficient factual matter, accepted as true, to
         ‘state a claim to relief that is plausible on its face.’ ” Ashcroft v. Iqbal, 556
         U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,
         570 (2007)). A claim is plausible on its face when the plaintiff “pleads
         factual content that allows the court to draw the reasonable inference that
         the defendant is liable for the misconduct alleged.” Id. To assess the
         sufficiency of factual content and the plausibility of a claim, courts draw
         on their “judicial experience and common sense” in considering: (1) the

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       exhibits attached to the complaint; (2) matters that are subject to judicial
       notice; and (3) documents that are undisputed and central to a plaintiff's
       claim. See Iqbal, 556 U.S. at 678; Parham v. Seattle Serv. Bureau, Inc., 224
       F. Supp. 3d 1268, 1271 (M.D. Fla. 2016).

       ...

       In sum, courts must (1) ignore conclusory allegations, bald legal
       assertions, and formulaic recitations of the elements of a claim; (2) accept
       well-pled factual allegations as true; and (3) view well-pled allegations in
       the light most favorable to the plaintiff. Iqbal, 556 U.S. at 679.

 Aspen American Insurance Company v. Tasal, LLC, 2021 WL 4935769, at *3 (M.D. Fla.
 Feb. 5, 2021).

    B. Futility

       “Leave to amend a complaint is futile when the complaint as amended would

 still be properly dismissed or be immediately subject to summary judgment for the

 defendant. See, Hall v. United Ins. Co. of Am., 367 F.3d 1255, 1263 (11th Cir. 2004).”

 Cockrell at 1310. A District Court may deny leave to amend “where the proffered

 amendment would be futile.” Said v. Qatar Ministry of Interior, 2022 WL 3646819, at

 *3 (M.D. Fla. June 8, 2022).

       “One way in which an amendment is futile is if the proposed revised complaint

 constitutes an impermissible ‘shotgun pleading.’ Plate v. Pinellas Cnty., 2020 WL

 428948, at *5 (M.D. Fla. Jan. 28, 2020) (denying leave to amend because the plaintiff's

 proposed amended complaint constituted a shotgun pleading).” Said at *3. Here, the

 plaintiff’s proposed Second Amended Complaint is a classic “shotgun pleading.”

 Plaintiff offers irrelevant editorializing about school violence in an unnumbered

 paragraph on page 2, followed by a second unnumbered paragraph and lengthy


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 footnotes that are immaterial. These two paragraphs are imminently susceptible to a

 motion to strike. Fed. R. Civ. P. 8 requires “a short and plain statement of the claim,”

 and Rule 10 requires that a “party must state its claims or defenses in numbered

 paragraphs. . .” Rule 13 allows the court to “strike from a pleading . . . any redundant,

 immaterial, impertinent or scandalous matter ” on its own or by motion.

       The plaintiff seeks an irrelevant and de novo review of the underlying decision

 of the Office of Compliance and Ethics, the foundation for the decision to terminate

 her, but it would be improper for this court to reweigh the evidence and particulars of

 the student charge and OCE investigation. Dusseau v. Metropolitan Dade Cnty. Bd. of

 Cnty. Com'rs, 794 So. 2d 1270, 1275 (Fla. 2001). In fact, the province of this Court in

 respect to the OCE finding at most would be to determine if the underlying decision

 was supported by “competent substantial evidence.” Id. Accordingly, amending the

 pleadings to rehash the particulars of the underlying investigation of the Office of

 Compliance and Ethics is unwarranted, improper, and futile, yet this issue consumes

 most of the allegations in the Second Amended Complaint.

       The documents which the plaintiff adds as exhibits plainly contradict the

 Second Amended Complaint in dispositive particulars. For example, the plaintiff

 alleges in paragraph 63 that she filed the hotline complaint and in paragraph 64 that

 “the Compliance department immediately deleted Professor Smith’s resubmission.”

 Yet, Plaintiff’s exhibits disclose that “[o]n March 10, 2023, OCE sent an email to

 Professor Smith reiterating that the issue would be addressed in the ongoing case

 FAMU 2022-11-117.” [Doc. 72-7, p. 18]. Plaintiff alleges in paragraph 73 that her

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 employment contract was “merely ceremonial as the contract itself incorporates and

 references FAMU regulations, including tenure and thus establishing her annual

 entitlement to a renewed contract.” [Doc. 72-1, p.18]. In contrast, the Employment

 Contract which the plaintiff supplies as Exhibit 9 does not incorporate anything by

 reference, states that it is the “complete and final expression of the terms” of the

 agreement between the University and the employee, and states that the employee is

 subject to University regulations. [Doc. 72-9].

       “[W]hen exhibits attached to a complaint ‘contradict the general and

 conclusory allegations of the pleading, the exhibits govern.’” Gill as Next Friend of

 K.C.R. v. Judd, 941 F.3d 504, 514 (11th Cir. 2019). Plaintiff attaches the Provost’s

 letter stating Plaintiff’s employment would terminate on January 30, 2024, yet Plaintiff

 alleges she was employed through April 2024. [Doc. 72.1, p. 5, ¶16 compared to Doc.

 72-8 and Doc. 1-1, ¶10]. That the plaintiff was evaluated over ten years ago as

 “excellent in teaching, scholarship and service” has no bearing on anything relevant

 to this matter. It is just as irrelevant as the same allegation in the First Amended

 Complaint. [Doc. 72-1, p. 7 compared to Doc. 1-3, p. 5]. Smith’s inclusion of the

 deposition of Leroy Pernell from a 2015 proceeding [Doc. 1-1, ¶23; Doc. 72-1, p. 6

 ¶19] and his evaluations of Plaintiff are likewise immaterial to the instant case. [Doc.

 1-1, pp. 1-4; Doc. 72-1, p. 7, ¶23]. That faculty were not evaluated for years, even if

 true, remains immaterial and irrelevant to whether Smith suffered a breach of contract,

 was denied Constitutional rights, was rightly dismissed, conspired against, retaliated

 against, or paid inequitably. [Doc. 1-1, p. 2, ¶¶11-13; Doc. 72-1, p. 7, ¶25].

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         “A ‘complainant's failure to link factual allegations to specific counts makes it

  a quintessential shotgun pleading [which] does not comply with Rule 8(a).’” [citation

  omitted]. Ware v. HUD Properties, LLC, 2021 WL 11642117, at *8 (M.D. Fla. Jan. 29,

  2021). Plaintiff here has likewise failed to link the facts to specific counts, but rather

  incorporates over a hundred initial paragraphs into Counts II, and V and asks the

  Court and the University to determine “all relevant paragraphs” in Counts II, III, IV,

  V, VI, VII, VIII, IX, and X. [Doc. 72-1, ¶¶155, 160, 168, 176, 183, 190, 196, 206, 216].

  It “is a quintessential shotgun complaint subject to dismissal as ‘it is [still] virtually

  impossible to know which allegations of fact are intended to support which claim(s)

  for relief.’ See Anderson v. Dist. Bd. of Trustee of Cent. Fla. Cmty. Coll., 77 F.3d 364, 366

  (11th Cir. 1996).” Id.

         “A proposed amendment may be denied for futility ‘when the complaint as

  amended would still be properly dismissed.” Coventry First, LLC v. McCarty, 605 F.3d

  865, 870 (11th Cir. 2010), citing Cockrell, supra.

         The Second Amended Complaint is futile and the Motion to Amend should be

  denied on the grounds that it is an impermissible “shotgun pleading.”

     C. Count I: “Discrimination in Compensation Equal Pay Act of 1963, as
                  Incorporated into the Fair Labor Standards Act 29 U.S.C., et
                  seq. against Defendant FAMU”

         Plaintiff again fails to allege a prima facie case for violation of 29 U.S.C. § 206,

  et seq. (“The Equal Pay Act” or “EPA”) in Count I of the Second Amended

  Complaint.     Plaintiff once again presents no facts whatsoever to support her

  conclusion that she and her comparator performed equal jobs for dissimilar pay under

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  the same working conditions. Plaintiff here pleads the conclusory language of the

  statute and refers to irrelevant documents which cannot and do not support the

  elements of the claim. [Doc. 72-1, ¶¶19, 28, 29, 30, 32, 34, and 35]. “Conclusory and

  ‘formulaic recitations of the elements’ of an EPA claim are insufficient to state a

  claim.” Arafat v. School Bd. of Broward Cnty., 549 Fed. App’x. 872 (11th Cir. 2103)

  (citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). Count I is subject to dismissal on

  the same grounds the University argued in its Motion to Dismiss the First Amended

  Complaint. [Doc. 64]. Plaintiff’s proposed amendment of the Equal Pay Act claim as

  is simply futile.

     D. Count II:     “Retaliation Equal Pay Act of 1963, as Incorporated into the
                      Fair Labor Standards Act, 29 U.S.C. §215(a)(3) against
                      Defendant FAMU”

         Plaintiff’s claims of retaliation under the EPA fail because Plaintiff does not

  allege that any alleged adverse employment action was causally related to any

  protected activity. She does not allege that “but for” her actions she would still be

  employed. “To meet the causation element, the plaintiff must show that she would

  not have been fired but for her assertion of her protected rights.” Andreu v. Hewlett–

  Packard Co., Case No. 15–23270–CIV–MORENO/O'SULLIVAN, 2016 WL

  1713303, at *8 (S.D. Fla. Apr. 28, 2016).

         Even assuming a prima facie case for retaliation were sufficiently pleaded in the

  proposed Second Amended Complaint (which is not conceded), the University’s

  reasons for its actions investigating the student complaint and terminating the plaintiff

  remain the same from the First Amended Complaint to the Second. The University

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  terminated Plaintiff’s employment for just cause under University Regulations. [Doc.

  1-3; Doc. 72-8]. “Findings of retaliation . . . will result in disciplinary action up to and

  including termination. . .” [Doc. 72-7, p. 50]. “The defendant ‘need not persuade the

  court that its proffered reasons are legitimate; the defendant's burden is merely one of

  production, not proof.’” [citations omitted]. Valencia v. Haines City, Fla., 2023 WL

  1994094, at *3 (M.D. Fla. Feb. 14, 2023).

        The plaintiff has presented nothing to meet her burden showing that this proffer

  is a pretext or a lie. Id. Therefore, not only does the prima facie case fail, it is dispelled.

    E. Count III: “Breach of Contract Against Defendant FAMU”

         The Second Amended Complaint does nothing to repair the defects of the First

  Amended Complaint in respect to the breach of contract claim. Plaintiff does not

  allege that the Employment Contract she provides with the First and Second Amended

  Complaints is ambiguous. [Doc. 1-4, p. 9; Doc. 72-9, p. 1]. Therefore, outside

  documents cannot properly be considered to interpret the plain terms of the

  Employment Contract. In fact, the contract itself states it is the complete agreement

  between the parties. Id. “The parol evidence rule provides that a written document

  intended by the parties to be the final embodiment of their agreement may not be

  contradicted, modified or varied by parol evidence. See The Florida Bar v. Frederick, 756

  So.2d 79, 84–85 (Fla. 2000).” LSQ Funding Group, L.C. v. EDS Field Services, 879 F.

  Supp. 2d 1320, 1328 (M.D. Fla. 2012).

         The Employment Contract provides that the plaintiff was subject to University

  Regulations. [Doc. 1-4, p. 9; Doc. 72-9, p. 1]. Plaintiff falsely claims that the

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  Employment Contract “incorporates and references FAMU Regulations.” It states

  the employee is “subject to” University regulations. Outside documents are not

  incorporated by reference. Where the attachments contradict the Complaint, the

  attachments prevail. Llauro v. Tony, 470 F. Supp. 3d 1300 (S.D. Fla. 2020).

          The plaintiff also still fails to identify the term of the contract that was allegedly

  breached by the University. “‘It is a basic tenet of contract law that a party can only

  advance a claim of breach of written contract by identifying and presenting the actual

  terms of the contract allegedly breached.’ Herssein Law Grp. v. Reed Elsevier, Inc., 594

  F. App'x 606, 608 (11th Cir. 2015).”

     F.    Count IV: “First Amendment Retaliation Against Defendant FAMU”

          Plaintiff’s complaints about her own salary (which the plaintiff cloaks with

  vague references to the interests of all women) and filing a lawsuit about her own

  employment grievances are not protected by the First Amendment.                    Where a

  government employee’s speech overall shows that it relates to her own job, rather than

  an issue of public concern, it is not protected. Boyce v. Andrew, 510 F.3d 1333, 1343

  (11th Cir. 2007). “[W]hile the First Amendment invests public employees with certain

  rights, it does not empower them to ‘constitutionalize the employee grievance.’”

  [citation omitted]. Garcetti v. Ceballos, 547 U.S. 410, 420 (U.S. 2006). Plaintiff’s claim

  in this manner is subject to dismissal and therefore futile.

     G.      Count V: “Request for Preliminary and Permanent Injunctive Relief
                       Against Defendant FAMU”

          Having twice moved for reinstatement to employment in this case and having



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  twice been denied, the law of this case dictates that Plaintiff is not entitled to injunctive

  relief. “[T]he law-of-the-case doctrine bars relitigation of issues that were decided

  either explicitly or by necessary implication.” This That And The Other Gift And Tobacco,

  Inc. v. Cobb Cnty., Ga., 439 F.3d 1275, 1283 (11th Cir. 2006).

         Plaintiff is only entitled to preliminary injunctive relief upon a showing of “a

  substantial likelihood of success on the merits.” Pittenger v. Gilchristil, 2022 WL

  3161702, at *1 (M.D. Fla. July 21, 2022). Two courts have now identified the

  plaintiff’s potential damages as solely monetary in nature. [Doc. 1-6, p. 77; Doc. 10].

  This claim as alleged in the Second Amended Complaint will precipitate another

  Motion to Dismiss on the same grounds as has been argued.

     H. Count VI: “Title VII of The Civil Rights Act of 1964, As Amended, 42
                  §2000e et seq. Against Defendant FAMU”

         The plaintiff alleges that she was treated differently than men at the College of

  Law, but she does not allege that they engaged in the same behavior. [Doc. 72-1, p.

  25 ¶102]. If the plaintiff cannot name someone outside of her protected class who was

  actually treated differently under the same circumstances, she has again failed to state

  a cause of action.

         To allege Title VII bias in the “application of discipline for violation of
         work rules [a plaintiff] must also show ‘either (a) that he did not violate
         the work rule, or (b) that he engaged in misconduct similar to that of a
         person outside the protected class, and that the disciplinary measures
         enforced against him were more severe than those enforced against the
         other persons who engaged in similar misconduct.’

  Stephen v. H. Lee Moffitt Cancer Center and Research Institute Lifetime Cancer Screening
  Center, Inc., 259 F. Supp. 3d 1323, 1335 (M.D. Fla. 2017).



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        Plaintiff cannot show she did not violate “the work rule,” because, in fact, it has

  been established by her own exhibits that she did. [Doc. 72-7]. Moreover, she presents

  no male who did the same thing and was not investigated. The allegations fail to

  support the plaintiff’s claims and would be subject to a motion to dismiss for failure to

  state a cause of action under 42 U.S.C. 2000e, et seq.

     I. Count VII: “42 U.S.C. §1985(3) - Conspiracy to Interfere with Civil Rights
                   Against Gray Defendants”

         Count VII alleging civil conspiracy in violation of 42 U.S.C. §1985 is likewise

  flawed and is a blatant attempt to disrupt our bedrock attorney-client privilege. First

  and foremost, it omits any reference to class or race-based discriminatory animus, an

  essential element which must be alleged in order to sustain the cause of action. Dean

  v. Warren, 12 F.4th 1248, 1255 (11th Cir. 2021) (“§ 1985(3) requires a showing of some

  racial, or perhaps otherwise class-based, invidiously discriminatory animus behind the

  conspirators’ action.”). “Plaintiff fails to allege any qualifying race or class and further

  fails to allege Defendants were motivated by a discriminatory animus toward the

  class.” McBride v. Guzina, 2022 WL 111230, at *5 (M.D. Fla. Jan. 12, 2022).

         The alleged conspiracy among Dr. D. Denise Wallace, and the University’s

  private outside counsel, (“Gray Defendants”) fails for other reasons. The Gray

  Defendants allegedly informed their client, the University, through Dr. Wallace, about

  an unserved, pending lawsuit against it, later learned of Plaintiff’s impending

  termination and failed to prevent it. [Doc. 72-1, at ¶¶ 193]. The Gray Defendants are

  attorneys whose alleged conduct plainly fell within the scope of representation of their



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  client. It is well-established in this circuit that “as long as an attorney's conduct falls

  within the scope of the representation of his client, such conduct is immune from an

  allegation of a § 1985 conspiracy.” Chance v. Cook, 50 F.4th 48, 51 (11th Cir. 2022)

  (citing Farese v. Scherer, 342 F.3d 1223, 1232 (11th Cir. 2003)). Nothing in these

  allegations alleges any action taken by the Gray Defendants that was improper or in

  furtherance of a conspiracy to deprive Plaintiff of her constitutional rights, nor is any

  of this activity outside the course and scope of the Gray Defendants’ representation of

  the University. In fact, if the Gray Defendants had interfered with the University’s

  decision to terminate Plaintiff, as Plaintiff suggests they had an obligation to do, that

  would have been a decision outside the scope of their representation, as a decision to

  terminate employment is a business, not a legal, decision. Payne v. Seminole Elec. Coop.,

  Inc., 2021 WL 1259382 (M.D. Fla. Feb. 2, 2021). The Gray Defendants are

  consequently immune from suit in respect to the instant action.

     J. Count VIII: “42 U.S.C. §1986 – Failure to Prevent Conspiracy Against Gray
                    Defendants”

        Without an adequate Section 1985 claim, Count VIII also fails. The text of

  Section 1986 requires the existence of a Section 1985 conspiracy to state a valid claim.

  Park v. City of Atlanta, 120 F.3d 1157, 1159-60 (11th Cir. 1997); Grappell v. Carvalho,

  847 Fed. Appx. 698, 702 (11th Cir. 2021). Therefore, Plaintiff’s failure to state a claim

  under Section 1985 against the Gray Defendants also eliminates her Section 1986

  claim. Plaintiff cannot allege that the Gray Defendants had the ability or authority to

  prevent her termination.      Accordingly, Plaintiff’s Section 1986 claim fails, and


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  Plaintiff’s Motion for Leave to Amend should be denied as futile. Park v. City of

  Atlanta, 120 F.3d 1157, 1160 (11th Cir. 1997).

     K. Count IX:      “Section 1983 – Civil Conspiracy Against the University
                       Employee Defendants”

        Count IX alleging a conspiracy among University employees fails for at least

  two reasons. The individual defendants are sued in their official and individual

  capacities. When these individuals are sued in their official capacities, the University

  is the resulting defendant, and when they are sued as individuals, they are immune

  from suit. “[A]n official-capacity suit is, in all respects other than name, to be treated

  as a suit against the entity. [citation omitted]. It is not a suit against the official

  personally, for the real party in interest is the entity.” Kentucky v. Graham, 473 U.S.

  159, 166 (1985). The University cannot conspire with itself, and the University

  employee defendants are entitled to qualified immunity. Grider v. City of Auburn, Ala.,

  618 F.3d 1240, 1261 (11th Cir. 2010).

        Qualified immunity protects a government official performing
        discretionary functions if the official's conduct “does not violate clearly
        established statutory or constitutional rights of which a reasonable person
        would have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818, 102 S.Ct.
        2727, 73 L.Ed.2d 396 (1982). Qualified immunity protects “all but the
        plainly incompetent or those who knowingly violate the law.” Malley v.
        Briggs, 475 U.S. 335, 341, 106 S.Ct. 1092, 89 L.Ed.2d 271 (1986).

  Burge v. Ferguson, 619 F. Supp. 2d 1225, 1234 (M.D. Fla. Dec. 16, 2008).

        The plaintiff does not allege that these employees acted outside the role and

  scope of their employment and has not identified a plausible “clearly established

  constitutional or statutory right.” The University has shown that no Constitutional



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  right was actually infringed. “If no constitutional right would have been violated were

  the allegations established, there is no necessity for further inquiries concerning

  qualified immunity.” Mann v. Taser Intern., Inc., 588 F.3d 1291, 1305 (11th Cir. 2009).

        The count also fails because of the intracorporate conspiracy doctrine. All the

  named parties are employees of the University and “acts of corporate agents are

  attributed to the corporation itself, thereby negating the multiplicity of actors necessary

  for the formation of a conspiracy.”       Grider at 1261 (applying the doctrine to a

  governmental entity). “[T]he university and its officials are considered as constituting

  a single legal entity which cannot conspire with itself.” Chambliss v. Foote, 421 F. Supp.

  12, 15 (D.C. La. 1976).

     L. Count X: “Due Process in Violation of the U.S. and Florida Constitutions
                  Against Defendant FAMU”

        This Count fails for the same reasons that it fails in the First Amended

  Complaint. The plaintiff was afforded procedural due process, and more or less admits

  it. [Doc. 72-7]. “The essence of procedural due process is notice and an opportunity

  to be heard. [citation omitted]. As the rubric's name implies, ‘procedural due process’

  is simply ‘a guarantee of fair procedure.’ [citation omitted].” Zisser v. Fla. Bar, 747 F.

  Supp. 2d 1303, 1316–17 (M.D. Fla. 2010).

        The allegations of the Second Amended Complaint coupled with the exhibits

  essentially admit that the plaintiff was afforded procedural due process. [Doc. 72-1,

  ¶¶105 - 111; Doc. 72-7]. Amendment of this claim is futile.




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     M.      Federal Rule of Civil Procedure 20

          The Second Amended Complaint does nothing to address the requirements of

  Federal Rule 20 governing permissive joinder of parties. “That rule provides, in

  relevant part, that a plaintiff may join defendants where the plaintiff asserts ‘any right

  to relief ... against them jointly, severally, or in the alternative with respect to or arising

  out of the same transaction, occurrence, or series of transactions or occurrences; and

  ... any question of law or fact common to all defendants will arise in the action.’ Fed.

  R. Civ. P. 20(a)(2).” Honor v. USA Truck, Inc., 2020 WL 12175835, at *4 (M.D. Fla.

  Jan. 7, 2020). Plaintiff says nothing about the comparative liability of all these

  defendants, whether damages should be assessed, jointly, severally, or otherwise nor

  does she show she is entitled to relief from the added defendants. Stenzel v. Equifax

  Information Services, LLC, 2020 WL 60156, at *3 (M.D. Fla. Jan. 6, 2020).

        WHEREFORE, Defendant, Florida Agricultural & Mechanical University

  Board of Trustees prays that this Honorable Court will deny the “Plaintiff’s Amended

  Motion for an Extension of Time, and for Leave to File an Amended Complaint and

  Add Parties,” and grant such other relief as it shall deem proper.

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                              CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on this 21st day of June, 2024, I electronically filed
  the foregoing with the Clerk of the Court by using the CM/ECF system which will
  send a notice of electronic filing to all registered users and counsel in this case.

                                                 /s/ Maria A. Santoro_______________
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